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FILED IN OPEN COURT
UNITED STATES DISTRICT COURT [- 1 15 mr
MIDDLE DISTRICT OF FLORIDA CLERK, U.S. DISTRICT COURT
JACKSONVILLE DIVISION MIDDLE DISTRICT OF FLO
JACKSONVILLE, FLORIDA
UNITED STATES OF AMERICA
v. CASE NO. 3:12-cr-171-J-32MCR

RONALD E. ROBINSON
UNITED STATES’ NOTICE OF MAXIMUM PENALTIES, ELEMENTS
OF OFFENSE, PERSONALIZATION OF ELEMENTS AND FACTUAL BASIS

The United States of America, by and through its undersigned Assistant
United States Attorney, files the following Notice of Maximum Penalties, Elements
of Offense, Personalization of Elements and Factual Basis:

A. MAXIMUM PENALTIES

The Defendant has expressed a desire to enter a plea of guilty to the
single offense charged in the Indictment. Count One charges the defendant with
Tampering With Consumer Products, in violation of Title 18, United States Code,
Section 1365(a)(4).

Count One carries a maximum sentence of 10 years imprisonment, a fine
of $250,000, or both imprisonment and a fine, a term of supervised release of
not more than 3 years, and a special assessment of $100, due at sentencing. If
the Defendant violates the terms and conditions of any supervised release he
could face up to an additional 2 years of imprisonment and an additional term of
supervised release. With respect to certain offenses, the Court shall order the

defendant to make restitution to any victim of the offense(s).
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B. ELEMENTS OF THE OFFENSE
The defendant acknowledges understanding the nature and elements of the
offense with which the defendant has been charged and to which the defendant is
pleading guilty. The elements of Count One are:

First: The Defendant tampered with a consumer
product that affected interstate commerce;

Second: The tampering was done with reckless disregard that
another person would be placed in danger of death or
bodily injury; and

Third: The tampering was done under circumstances
manifesting extreme indifference to such risk.

C. PERSONALIZATION OF ELEMENTS
4: On or between April 10, 2012, through on or about June 15, 2012,
in the Middle District of Florida, did you tamper with a consumer product affecting
interstate commerce?
2. Did you do so with reckless disregard that another person would be
placed in danger of death or bodily injury?

3. Were you indifferent to the risk your tampering had caused?

D. FACTUAL BASIS
On June 12, 2012, Jacksonville Sheriff's Officer, C.L. Kornegay

responded to the CVS store located at 9509 San Jose Blvd., Jacksonville, FL.

Manager Dustin McDonald advised Officer Kornegay that a white male had been

 
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in the store several times over the last month and had purchased and returned
single use enemas for refunds on at least four occasions, including on June 5,
2012. McDonald said the customer told him the enemas were for his mother
and that she no longer needed them. According to McDonald, the refunded
enemas had been returned by CVS to the store's display shelf for resale.

McDonald said he became suspicious of the customer and his repeated
story about not needing the enemas, so he checked the enemas that had
previously been returned to the shelf (on June 5, 2012), and found that ail of the
enemas in each of three returned boxes appeared to be used and that it
appeared that the customer had re-glued the boxes to make them look as if they
had never been opened or used. These particular enemas are sold in boxes
with six separate disposable enemas to the box.

On June 12, 2012, the same customer attempted to return another box of
enemas that had been purchased the previous day. Because of the June 5,
2012, incident, the manager advised the customer that he could no longer take
returns for this item. The customer left the store and McDonald contacted the
Jacksonville Sheriff's Office who took a report and collected the evidence.

On June 13, 2012, McDonald contacted Officer Kornegay and advised
him that he had located what he believed to be the customer's vehicle in a

neighboring apartment complex located at 4320 Sunbeam Rd, Jacksonville, FL.

Kornegay conducted an NCIC check of the vehicle and found it registered to
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Kimberly Michelle Carranza (later determined to be Robinson's roommate).

On June 14, 2012, Will Brannon, Special Agent, Food and Drug
Administration, was contacted by Rebecca Capwell, Sr. Analyst, Quality
Assurance for CVS Store Brands in Woonsocket, Rhode Island. Capwell
reported that CVS Store #7129 located at 9509 San Jose Boulevard,
Jacksonville, Florida, had identified a consistent pattern of CVS product returns
by a specific customer purchasing and returning CVS Brand Enema Product
(value packs of six). Capwell stated that the customer had used a credit card for
the first purchase of enema products and had also made a purchase of
medication from the pharmacy in the name of Ronald Robinson at the same
time. Capwell further stated that an inquiry with the credit card company found
that the card used by Robinson belonged to Kimberly Carranza, who is also the
registered owner of the vehicle being used by Robinson.

On June 15, 2012, Kornegay and Brannon presented McDonald with a
photo spread of potential suspects including Ronald Eugene Robinson and
McDonald positively identified Ronald Eugene Robinson as the individual who
had returned used enemas to the store on multiple occasions. A second CVS
employee, Lindsay Larson, viewed a secondary set of the photo spread and she
also positively identified Ronald Eugene Robinson as having been in the store.

Both CVS and law enforcement officials became concerned about the

risk of disease contamination to customers who may have unknowingly
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purchased used enemas returned to CVS by Robinson. Not knowing whether
Robinson carried any communicable diseases, and uncertain as to how many
used enemas had been resold, a decision was made to release some facts
regarding the incident as a public safety measure. As a result, several
purchasers of the used enemas were identified. CVS also released to Agent
Brannon credit card information for unknown buyers who could be tied to the
purchases. Grand Jury subpoenas for holder information resulted in the
identification of several more purchasers.

Dr. Sheila Murphey, M.D., Branch Chief, Infection Control! Devices
Branch, Division of Anesthesiology, General Hospital, FDA, was consulted
regarding the likelihood that a communicable disease or infection could be
transferred between enema users. She rendered this written opinion:

Normal rectal flora is predominantly anaerobic bactena (gram-

negative bacilli, anaerobic cocci and a few gram positive bacilli,

including Clostridium species) with a significant aerobic flora of
gram-negative bacilli and streptococci merging to the perianal skin
flora at the anus. Invasive devices used in the rectum can be
contaminated not only with the normal bacterial flora of the lower

gut and perineal skin but also with bloodbome pathogens due to

traumatic disruption of the mucosal/epithelial barrier and resultant

local bleeding. The mostly likely bloodbome pathogens to be
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transmitted by this route could include the hepatitis B and C viruses
and the human immunodeficiency virus (HIV). If an invasive
procedure such as an enema is performed on a person who has a
chronic, relatively asymptomatic transmissible infection such as
amebiasis, nematode infection or the salmonella carrier state, an
invasive device such as an enema tip and squeeze bottle might
become contaminated with such pathogens.

The efficiency of transmission of pathogens depends on the
infectious inoculum available, the pathogenicity of the microbes
and the ability of the host to resist infection or already be immune
to it. The best information on the transmissibility of gastrointestinal
illness comes from volunteer studies of oral doses of pathogens
plus epidemiologic studies of disease outbreaks. By the oral route,
it takes about 100,000 Salmonella to reliably infect volunteers but
only 10 Shigella species. The noroviruses clearly spread with very
small inocula. The portal of entry of the pathogen also plays a role.
The rectum is not usually a “portal of entry” for the body. However,
it can become one, usually with invasive procedures and
contaminated instruments and also with sexual activity.

The likelihood that a “used” enema could transmit an infectious

disease from the “first user’ of this device intended for single use
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only to an unsuspecting “second user’ would depend upon
whether:

The ‘first user’ had a potentially transmissible infection.

The degree of trauma during use to the rectum/anus of the first
user, this could increase with device size, especially relative to the
user and would increase the risk of blood contamination of the
device plus the risk of transmission of bloodbome pathogens.
Whether the “second user’ was immune to one or more of the
possible infections which could potentially be transmitted by an
invasive rectal device; for example, was the second user
immunized against hepatitis B?

The risk to the “second user’ from acquisition of the normal rectal
or perineal skin flora of the “first user’ is very low although it is not
zero. For example, if the “first user’ is an asymptomatic carrier of
vancomycin-resistant enterococcus (VRE) and transmitted this
microbe to the “second user’ this event would not result in
immediate disease. However, GI carriage of VRE puts the “second
user’ at risk for VRE invasive disease in the future during a course
of antibiotic therapy for some unrelated event. The risk of acquiring

disease-causing pathogens from the “first user’ is, of course, of

much more concem for the “second user’.
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The question asked of CDRH is stated to be “is it possible for the
customers who may have purchased the used enemas and then
used them to contract any diseases from dried fecal matter? Are
these type of diseases killed when they are in contact with air? “
The answer is a qualified “yes” with a reminder that microbial
contamination on a device need not be visible. Microbial survival
outside of its normal habit will be affected by local temperature,
moisture/dryness, the size of the microbial population (larger
populations survive longer in adverse conditions), the type of
microbe and the interval between device contamination and device
reuse by the “second user’. Based on experiences with
inadequately disinfected lower GI endoscopes, the pathogens of
greatest concem (because they are more likely to survive adverse
environmental conditions) would include the hepatitis B virus
(HBV), Clostridium difficile, the hepatitis C virus (HCV), Noroviruses
and Cryptosporidia. However, many other pathogens are of at least
some possible concem for transmission depending on the health
State of the original user, the means used to disguise the fact that
the product was allegedly “used” and the interval/device storage

conditions until the devices were “reused”.

 
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Used enemas and packaging were recovered from CVS and submitted to
FDA labs for testing. David L. Craft, molecular biologist at the Forensic
Chemistry Center, FDA, Ohio, examined the submissions and concluded that
there are apparent signs of tampering on the external and internal packaging of
the enemas. He also identified the presence of multiple incidents of microbial
activity on the applicators in the form of escherichia coli, staphylococcus hominis,
corynebacterium xerosis, enterococcus durans, enterococcus faecalis,
micrococcus luteus, staphylococcus epidermis, and clostridium tertium.

Dr. Murphey would testify that these particular bacterium are all aerobic
and therefore can survive for short periods of time in air. She states that these
bacterium are also present on many surfaces in the environment but that the
combination of them all together is consistent with the device having been in
contact with the human anus. She states that these bacterium are commonly
present in everyone and are not necessarily dangerous, although they can cause
disease if they invade areas of the human body other than the gastrointestinal
tract as a result of other injury or disease such as diverticulitis or appendicitis or
other trauma to the intestines.

Dr. Murphey further states that the potential for transmission of disease
through the identified enema tampering is significant because humans can carry

many infectious anaerobic bacterium (difficult to detect because they die when

exposed to air) as well as infectious pathogens (hepatitis, HIV, salmonella)
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without displaying any symptoms because of dormancy or a natural immunity.
Consequently, an illness can be easily transmitted unknowingly. In other words,
humans can carry disease without knowledge of the presence of disease and
transmit those diseases through the mechanism involved here.

Dr. Murphey would testify that in her opinion the act of using an enema
and then concealing the fact that it has been used, in a manner which creates a
likelihood that it may be reused by another person, creates a risk of bodily injury.

Craft further stated that evidence of product tampering was noted on
some of the top carton flaps as the glue seam on the surface of the top inner flap
was separated from the top outer flap and a layer of carton paper was torn from
the top outer flap. The outer top flap was ripped completely across the top flap.
Adhesive material was present on some of the cartons inconsistent with
untampered control boxes. Transparent tape across the outer top flap and down
both sides of the carton was reported to have been placed on the carton during

collection by FDA. No evidence of additional adhesive material was observed.

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The Florida Department of Law Enforcement has identified a DNA profile

on at least one of the used enemas. It has been identified as matching a known

sample of Robinson’s DNA.

By:

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Respectfully submitted,

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United States Attorney

 

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CERTIFICATE OF SERVICE
a
| hereby certify that on January, \y_, 2013, | filed the foregoing in open
court and provided a copy of this document by hand delivery to the following:

Roland Falcon, Esq.

    

sistant United States Attorney

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